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                        UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF MISSOURI
                              EASTERN DIVISION

UNITED STATES OF AMERICA,             )
                                      )
           Plaintiff,                 )
                                      )
      v.                              )     Case No.      4:08CR405 CDP
                                      )
MELVIN DARNELL CURTIS,                )
                                      )
           Defendant.                 )


                                      ORDER

      IT IS HEREBY ORDERED that the defendant’s motion to continue [#451]

is GRANTED.

      IT IS FURTHER ORDERED that sentencing as to defendant Melvin

Darnell Curtis is reset to Tuesday, May 26, 2009 at 1:00 p.m. If testimony is

expected counsel must notify the court at least a week before sentencing.

      IT IS FURTHER ORDERED that the parties must file any sentencing

memoranda no later than May 19, 2009, except that a response to a sentencing

memorandum may be filed no later than May 22, 2009.




                                          CATHERINE D. PERRY
                                          UNITED STATES DISTRICT JUDGE
Dated this 22nd day of April, 2009.
